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                                  Canvasfish.com LLC
                                  Schedule A - Service


Domain Names
Defendants served via email on August 30, 2021

    1. DeepCruan.com                                26. beautifulday.store
    2. Gopostore.com                                27. tshirtcheapest.store
                                                    28. babomanstore.com
    3. FamilyLoves.com
                                                    29. kevinisami.com
    4. Soobek.com                                   30. woonishop.com
    5. Wanbina.com                                  31. rageontee.com
    6. trendingtshirt.us                            32. customfamilytee.com
    7. Kitaram.com                                  33. merchcustom.com
                                                    34. beantee.com
    8. shirt3d.us
                                                    35. fionacuz.com
    9. xpanshop.com                                 36. magunusi.com
    10. clotheschat.com                             37. coletas.shop
    11. allprintaz.com                              38. bazote.com
    12. chipteeamz.com                              39. caneticstore.com
                                                    40. tcraftshop.com
    13. heroidesign.com
                                                    41. neswstore.com
    14. gearupngetout.com                           42. foxsstar.com
    15. hemotee.com                                 43. sosoulburn.com
    16. teeshirt21.com                              44. ekoptestore.com
    17. palochi.com                                 45. onesoulburn.com
    18. meckily.com                                 46. vensestore.com
                                                    47. vislistore.com
    19. gooheart.com                                48. koreasshop.com
    20. usbeach.co                                  49. hadkstore.com
    21. teesalley.com                               50. kemtshirt.com
    22. austincust.com                              51. buludeep.com
    23. summetee.com                                52. madeforfans.com
    24. styletshirts.store
    25. beetickee.com

Wish.Com Sellers

    1.   qinjiangping6890                           7. wangzhonghui5795
    2.   chenmengna71505                            8. mike hrestak45
    3.   Inge V. Kendall                            9. phubinhto97350
    4.   shiyani0016                                10. tianhan 258
    5.   wangjianjun0801                            11. RICHIE HAUGHT34
    6.   wangshuang794684                           12. Ernest Hicks
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 13. zhangna06                                52. wuxiaofei2517
 14. Jessica Rolfe                            53. Cheers1
 15. eric richards34                          54. shatuqing423
 16. Brett Waterbeck                          55. Dominick Peterson
 17. zhanghongtao6039                         56. lina2201
 18. vylandinh17519                           57. chenping Store me
 19. Town Vape34                              58. SunStyle Shop
 20. WAYNE778                                 59. Melinda Kelsay
 21. chenling100463                           60. Linglini
 22. James Miller123                          61. kongjun Store
 23. ductrungvuong62177                       62. guoxiaoao8515
 24. rtonolive                                63. dengqingjun9856
 25. xiamingzhu1042                           64. wangjun Store me
 26. daiyingxi514958                          65. Rank Electronics
 27. GARY KAISINGER                           66. Lanika Vann
 28. JOEL145                                  67. ommaking
 29. JOHN332                                  68. Matthew Dukes
 30. Anna Ferguson                            69. xutianyue0214
 31. MICHAEL665                               70. xuxiaolong1316
 32. Emily B Ellis                            71. FunnyRedTee
 33. hushuqiang Store                         72. audrinawhitehead35029124
 34. ehui00586                                73. Ivyaping55818
 35. quochuymai76718                          74. NacaratStore
 36. Dianahsdbc166                            75. Robert Tuttle
 37. Yimeiguan258                             76. Elnitra woods66
 38. FADO SAM CARGO                           77. jang4070
 39. Floyd Morales                            78. zhuhongna66058
 40. huyongkang50372                          79. zhangyufan623
 41. Rubasses                                 80. zhaoshi1234
 42. Jerry M Simmons                          81. Erin Zebrowski
 43. KEITH002                                 82. yuanwenhao12
 44. ANDREW333                                83. wangyanhua888
 45. DANIEL123                                84. xuxingying Store
 46. alleycassidy42839440                     85. zhanghui Store me0071
 47. godtnr00                                 86. NeverDying
 48. wujunzhe15815824
 49. Lujingt
 50. wyz0625
 51. Dongd_01
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Ebay Seller Names
Defendants Served via email September 3, 2021

   1.    alamursa4
   2.    wnnurhalis-0
   3.    gerald_8956
   4.    caylendaug16
   5.    kristalrott_83
   6.    alejandrades_81

Etsy Seller Names
Defendants Served via email August 30, 2021

    1.    BrookerJmlPLo
    2.    BigtimeBoutique
    3.    WorldVibe
    4.    ChristianReichhard
    5.    CaroleNaegeleShop


eCrater Seller Names
Defendants Served via email August 30, 2021

    1. orangemke1
    2. ammetal

Zazzle Seller Names
Defendants Served via email September 3, 2021

   1. carissachaykavwf81
   2. EricCstore
   3. cleoracomfortlzo32
   4. dylyrevore750
   5. FifthHarmonys
   6. MADELENASANTIANO4341
   7. SangNguyen_Ds
   8. fishingOutdoors
   9. leishathurman6070
   10. fiallomaggi7
   11. BiemsHomish566

/s/ Amanda Osorio, attorney
09/03/2021
